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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 NETLIST, INC.                                        Civil Case No. 2:22cv00293-JRG
                                                      (Lead Case)
               Plaintiff,
                                                      JURY TRIAL DEMANDED
 v.

 SAMSUNG ELECTRONICS CO., LTD, et al.

               Defendants.


 NETLIST, INC.                                        Civil Case No. 2:22cv-00294-JRG
                                                      (Member Case)
               Plaintiff,
                                                      JURY TRIAL DEMANDED
 v.

 MICRON TECHNOLOGY TEXAS, LLC, et al.

               Defendants.


                     SAMSUNG’S MOTION FOR A SHORTENED
                   RESPONSE TIME TO MOTION TO STAY (Dkt. 187)

        Pursuant to Local Rule 7(e), Defendants Samsung Electronics Co., Ltd., Samsung

Electronics America, Inc., and Samsung Semiconductor, Inc. move for an order to shorten the

period for Plaintiff Netlist, Inc. to respond to Samsung’s Motion To Stay Pending Resolution of

the C.D. Cal. Case Reversed and Remanded by the Ninth Circuit Regarding Samsung’s License

(Dkt. 187).

       Given the imminent close of fact discovery, scheduled for November 13, 2023, the Court

should shorten the time for Netlist to respond to Samsung’s Motion To Stay. Netlist has had

nearly a week to consider its position on Samsung’s motion. In particular, Samsung notified


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Netlist of its intent to file a Motion to Stay on October 18, 2023, one day after the Ninth Circuit

issued its decision that reversed and remanded the order of the Central District of California that

erroneously and summarily found that Netlist’s license to Samsung had been terminated. Fact

discovery is scheduled to close on November 13, 2023, and the parties anticipate expending

significant resources completing fact discovery prior to that date, including conducting

depositions in multiple continents (indeed, Netlist has served 25 deposition notices to date).

       Accordingly, Samsung respectfully seeks an order for Netlist to respond to Samsung’s

motion by Monday, October 30, 2023, and for Samsung to file a reply by Thursday, November

2, 2023, so that the motion may be fully briefed and heard, should the Court so direct, before the

November 13, 2023 close of fact discovery.



Date: October 23, 2023                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on October 23, 2023. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).


                                             /s/ Michael J. McKeon



                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules CV-7(h) and (i), counsel for the parties met and conferred

telephonically on October 23, 2023. Sam Baxter attended for Plaintiff; Ruffin Cordell attended

for Defendants. Netlist indicated that it opposes the motion.


                                             /s/ Michael J. McKeon
